        Case 8:04-cr-00219-SDM-MAP Document 116 Filed 07/08/05 Page 1 of 6 PageID 294
A 0 24% (Rev 12/03) Sheet 1 - Judgment in a Criminal Case


                            UNITED STA TES DISTRICT COURT
                                                 MIDDLE DISTRICT OF FLORIDA
                                                      TAMPA DIVISION



UNITED STATES OF AMERICA                                      JUDGhiENT IN A CRIhlINAL CASE

                                                              CASE NUMBER:        8:04-cr-219-T-23MAP
                                                              USM NUMBER:         17243-424
VS.


h1ACIE.l SLAWOMIR ZACZYKIEWICZ
                                                              Defendant's Attorney: Bjorn Erik Brunvand, cja

THE DEFENDANT:

X pleaded guilty to count ONE of the Indictment.
7




TITLE & SECTION                             NATURE O F OFFENSE                           OFFENSE ENDED             COUNT

21 U.S.C. $5 846 and 841(b)(l)(C)           Conspiracy to Possess with the intent        August 2004               ONE
                                            to Distribute and to Distribute MDMA

        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

X Count TWO is dismissed on the motion of the United States.
-
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence. or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United Statcs Attorney of any material change in economic
circumstances.


                                                                                Date of Imposition of Sentence: July 7, 2005




                                                                                    STEVEN D. hIERRYDAY
                                                                                                                               \
                                                                                UNITED STATES DISTRICT JUDGE

                                                                                DATE: July             ,2GQ.5
          Case 8:04-cr-00219-SDM-MAP Document 116 Filed 07/08/05 Page 2 of 6 PageID 295
A 0 245B (Rev 12/03) Sheet 2 - Inlprisonrnent
Defendant:           MACIEJ SLAWOMIR ZACZYKIEWICZ                                                           Judgment - Page 2 of 6
                                                                                                                                 --
Case No.:            8:04-cr-219-T-23MAP

                                                               IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of FORTY-ONE (41) MONTHS as to count one of the Superseding Indictment.




-
X The court makes the following recommendations to the Bureau of Prisons: that the defendant be placed in one of the
following facilities in order of preference (1) FCI Fort Dix, New Jersey, (2) FCI Allenwood, Pennsylvania, or (3) FCI Miami,
Florida.



      The defendant is remanded to the custody of the United States Marshal.
     The defendant shall surrender to the United States Marshal for this disuict.

           -at - a.m.1p.m. on -.
           - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
           - before 2 p.m. on -.
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Office.


                                                                      RETURN
            I have executed this judgment as follows:




            Defendant delivered on                                                  to

at                                                                         , with a certified copy of this judgment.



                                                                                          United States Marshal

                                                                         By:
                                                                         Deputy Marshal
        Case 8:04-cr-00219-SDM-MAP Document 116 Filed 07/08/05 Page 3 of 6 PageID 296
A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:           MACIEJ SLAWOMIR ZACZYKIEWICZ                                                             Judgment - Page 3 of 6
Case No.:            8:04-cr-219-T-23MAP

                                                         SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of THIRTY-SIX (36) hlONTlIS
as to count one of the Superseding Indictment.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 8 921.

X
-        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

          If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance
 with the Schedule of Payments sheet of this judgment.

          The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
 1)       the dcfcndant shall not leave the judicial district without the permission of the court or probation officer;

 2)       the defendant shall report to the probation officer and shall submit a truthful and complcte written report within the first five days
          of each month:

 3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

 4        the defendant shall support his or hcr dependents and mcet other family responsibilities:

 5)       thc dcfcndant shall work regularly at a lawful occupation, unless excused by thc probation officer for schooling. training, or othcr
          acceptable reasons:

 6)       the dcfcndant shall notify the probation officer at least tcn days prior to any change in residence or employment;

 7)          the dcfcndant shall refrain from excessive use of alcohol and shall not purchase, possess, use. distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, cxcept as prescribed by a physician:

 8)          the defendant shall not frequent places whcrc controlled substances are illegally sold. uscd. distributcd. or administcrcd:

 9)          the defendant shall not associate with any pcrsons engaged in criminal activity and shall not associate with any person convicted
             of a felony, unless granted pcrmission to do so by thc probation officer;

 10)         thc defendant shall permit a probation officcr to visit him or her at any timc at home or elsewhere and shall permit confiscation of
             any contraband observed in plain vicw of the probation officer:

 11)         rhe dcfcndant shall notify the probation officcr within scventy-two hours of being arrested or qucstioncd by a law enforcement
             officer:

 12)         the dcfcndant shall not enter into any agrccrncnt to act as an informer or a special agent of a law enforcement agency without the
             permission of the court;

 13)         as dircctcd by the probation officcr, the dcfcndant shall notify third parties ofrisks that may bc occasioned by thc dcfcndant's criminal
             record or personal history or characteristics and shall permit the probation officer to makc such notifications and to confirm the
             defendant's compliance with such notification requircmcnt.
      Case 8:04-cr-00219-SDM-MAP Document 116 Filed 07/08/05 Page 4 of 6 PageID 297
A 0 245B (Rev. 12/03) Sheet 3C - Supervised Release

Defendant:        MACIW SLAWOMlR ZACZYKIEWICZ                                                         Judgment - Page 4 of
Case No.:         8:M-cr-219-T-23MAP
                                       SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:


-
X        If the defendant is deported, he shall not re-enter the United States without the express pern~issionof the appropriate
         governmental authority. currently the Department of Homeland Security.
       Case 8:04-cr-00219-SDM-MAP Document 116 Filed 07/08/05 Page 5 of 6 PageID 298
A 0 245B (Rev 12/03) Sheer 5 - Criminal Monetary Penalties

Defendant:         MACIEJ SLAWOMIR ZACZYKIEWICZ                                                      Judgment - Page 5 of 6
Case No.:          8:04-cr-219-T-23MAP

                                         CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                            Assessment                         -
                                                               Fine                          Total Restitution

         Totals:            $100.00                            $ waived                      $


-        The determination of restituti,on i? deferred until -.             An Amended Judgment in a Criminal Case ( A 0 245C) will
         be entered after such deteminat~on.
         The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a partial. payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwse in the.prior~tyorder or percentage pa ment column below. However, pursuant to 18 U.S.C. 8
                                                                       d'
         3664(i), all non-federal victims must be paid before the nited States.
                                                                                                             Priority Order or
                                               *Total                          Amount of                     Percentage of
Kame of Pawe                                 Amount of Loss                 Restitution Ordered              Pavmmt




                            Totals:

-        Restitution amount ordered pursuant to plea agreement $
-        The defendant shall ay interest on any f i e or restitution of more than $2,500, unless the restitution or line is paid in full
                              t
         before the fifteenth ay after the date of the judgment, ursuant to 18 U.S.C.8 3612(f). All of the payment options on Sheet
                                                               P
         6 may be subject to penalties for delinquency and de auk pursuant to 18 U.S.C. 5 3612(g).
-        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - f i e       - restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1 lOA, and 113A of Title 18 for the offenses
                                                                   B
committed on or after September 13, 1994, but before April 23, 1 96.
        Case 8:04-cr-00219-SDM-MAP Document 116 Filed 07/08/05 Page 6 of 6 PageID 299
A 0 245B (Rev 12103) Sheer 6 - Schedule of Payments

Defendant:        MACIEl SLAWOMIR ZACZYKEWICZ                                                       Judgment - Page 6of 6--
Case No.:         894-cr-219-T-23MAP


                                                 SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum payment of $ 100.00 due inunediately, balance due
                            -not later than                   , Or

                            -in accordance - C, - D, - E or - F below; or
                  Payment to begin immediately (may be combined with -C, -D, or -F below); or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of S             over a
                  period of           e.g., months or years), to conmence              days (e.g., 30 or 60 days) after the
                  date of this judgmeht: or
                  Payment in equal                (e.f.. weekly, monthly, quarterly) installments of $             over a
                  period of             , (e.g., mon 1s or years) to commence                   (e.g. 30 or 60 days) after
                  release from imprisonment to a term of supervision; or
                  Payment during the term of supervised release will commence within                         (e.g., 30 or
                  60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this jud ment imposes a period of                            payment of criminal
         L                             g
                                                                     4
Inonetar penalties is due during in1 risonment. All crimina monetary penalties,
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
                                                                                                                    made through the

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount. and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fme principal,
(5) conlmunity restitution, ( 6 ) fine interest (7) penalties, and (8) costs, including cost of prosecution and court costs.
